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IN THE UNITED STATES DISTRICT coURT F"£B BY..T D.c.

 

FOR THE wEsTERN DISTRICT oF TENNESSEE ;
wEsTERN DIVISION GSAUGZG PHIuIz
Twzm> M. (IJULD
X QHKQ§QJ%HUUU
cURTIS L. BYRD, JR., x WD¢WWI%MHB
X
Plaintiff, X
X
vs. X NO. 04-2998-D/P
X
LESLIE I. BALLIN, et al., x
)(
Defendants. X
X

 

ORDER STRIKING PROPOSED AMENDED COMPLAINT
FILED DECEMBER 20, 2004

 

Plaintiff Curtis L. Byrd, Jr. commenced this action by
filing a legal malpractice complaint in the Shelby County Circuit
Court, docket number CT-005216-04, on September 13, 2004 against
defendant Leslie I. Ballin, an attorney who represented Byrd in a
federal criminal prosecution arising out of this district. gee Notice
of Removal, Ex. A. On or about November 15, 2004, plaintiff filed an
amended complaint that, for the first time, added the National Bank
of Commerce (“NBC”) and three individuals, Sheila Burnett, Latoria
Johnson, and Patricia Cook, as defendants. gee Notice of Removal, Ex.
B. NBC was served with the amended complaint on November 19, 2004 and
removed this action to federal court, pursuant to 28 U.S.C. §
1446(d), on December 9, 2004.

On. December 20, 2004, plaintiff filed another amended
complaint (the “second amended complaint”) without seeking leave of

Court or, apparently, obtaining the consent of he defendants.

  

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proposed second amended complaint added several additional claims
against defendant Ballin and also purported to assert claims against
two new defendants, the U.S. Postal Inspection Service and Probation
Officer Lorie Green, who prepared the presentence report in
plaintiff's criminal case. The new claims in the proposed second
amended complaint, including the additional claims against Ballin,
were the subject of a separate lawsuit commenced by this plaintiff,
Bvrd v. Burnett, et al., No. 04-2877»Ml/V (W.D. Tenn.), which was
filed on November 1, 2004 and voluntarily dismissed on December 20,
2004. Thus, the sole effect of the proposed second amended complaint
is to assert claims in this action that were the subject of another
lawsuit assigned to a different judge.1
Rule 15(a) of the Federal Rules of Civil Procedure
provides, in pertinent part, as follows:
A party may amend the party's pleading once as a

matter of course at any time before a responsive pleading

is served . . . . Otherwise, a party may amend the party’s

pleading only by leave of court or by written consent of

the adverse party; and leave shall be freely given when

justice so requires.
In this case, the plaintiff assumed that he was entitled to amend his
complaint once as a matter of course because his previous amendment
occurred while the case was pending in state court. However, because
the plaintiff has already amended his complaint once as a matter of

right, he was not entitled to file a second amended complaint without

leave of court. Whitehead v. Viacom, 233 F. Supp. 2d 715, 719 (D. Md.

 

 

1 The proposed second amended complaint also reasserted the federal law

claim against NBC, which plaintiff had attempted to voluntarily dismiss in order
to ensure that the case would be remanded to state court. As is discussed in
another order, however, the federal claim against NBC remains in the case even in
the absence of this proposed amendment.

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2002), aff'd, 63 Fed. Appx. 175 (4th Cir. May 21, 2003) (per curiam);

 

Armstrong v. Unc-Lear Sieqler, Inc., No. 98-CV-736, 1999 WL 123512
(N.D.N.Y. Mar. 1, 1999). As plaintiff has not sought leave of Court
to file his second amended complaint, the Court ORDERS that that
complaint be removed from the case file in this action.2 The
operative pleading in this action is the amended complaint, which was
filed in state court on November 15, 2004.

IT Is so 0RDERED this 2(2‘“" day of August, 2005.

    

RNICE B. DONALD
ITED STATES DISTRICT JUDGE

 

2 Although it is not appropriate to address the merits of a motion for

leave to amend at this time, as no such motion is currently pending, the Court
notes that it is not appropriate for a litigant to engage in procedural
machinations designed to ensure that his claims are heard by the judicial officer
of his choice. As plaintiff originally chose to assert his various claims arising
out of his criminal case in separate lawsuits, and to name Ballin as a party to
both lawsuits, plaintiff's action in voluntarily dismissing case no. 04-2877 in
order to assert the identical claims in this lawsuit has the appearance of “judge
shopping.”

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
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Honorable Bernice Donald
US DISTRICT COURT

